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                            Exhibit 25
                  Declaration of Eden Shemuelian
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  From: UCLA BruinALERT <                       >
  Date: Thu, May 23, 2024 at 5:16 PM
  Subject: BruinALERT: Campus Activity Updates (May 23rd @ 5:15 PM)
  To:                                  <                                      >


  BruinALERT: Classes in Moore Hall continue to be held remotely for the remainder of the
  day.

  Access to Dodd Hall is limited and we are asking the community to avoid the area. Classes
  in Dodd Hall will also move to remote for the remainder of the day.

  Earlier this morning, the Office of the Administrative Vice Chancellor, in partnership with the
  Office of the Associate Vice Chancellor for Campus Safety, withdrew consent to remain on
  campus for demonstrators on Kerckhoff patio, and asked them to disperse immediately.
  There was reasonable cause to find that demonstrators’ activities — including erecting
  barricades, establishing fortifications, and blocking access to parts of the campus and
  buildings — were disrupting campus operations. Demonstrators were informed that if they
  did not disperse, they would face arrest and possible disciplinary action, as well as an order
  to stay away from campus for 7 days. Demonstrators willingly dispersed, and no arrests
  were made.

  Demonstrations may continue to shift to different parts of campus.

  For more information about emergencies at UCLA, please visit https://bso.ucla.edu/.




                       SHEMUELIAN DECLARATION EXHIBIT 25
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